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 8                                         UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                           No. 1:15-CR-00233-DAD-BAM-4

12                          Plaintiff,

13            v.                                          ORDER FOR FORFEITURE MONEY
                                                          JUDGMENT
14    LIOBIGILDO VARGAS,

15                          Defendant.

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17            Based upon the United States’ Application for Forfeiture Money Judgment and the entry

18    of guilty plea as to defendant Liobigildo Vargas,

19            IT IS HEREBY ORDERED that

20            1.       Defendant Liobigildo Vargas shall forfeit to the United States $126,110.82 and the

21    Court imposes a personal forfeiture money judgment against the defendant in that amount.

22            2.       Any funds applied towards such judgment shall be forfeited to the United States of

23    America and disposed of as provided for by law. Prior to the imposition of sentence, any funds

24    delivered to the United States to satisfy the personal money judgment shall be seized and held by

25    the Department of Homeland Security, Homeland Security Investigations, Customs and Border

26    Protection, in its secure custody and control.

27            3.       This Order of Forfeiture shall become final as to the defendant at the time of

28    sentencing and shall be made part of the sentence and included in the judgment.
     ORDER FOR FORFEITURE MONEY JUDGMENT                 1
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 1            4.       In accordance with Rule 32.2(b)(3), the United States, in its discretion, shall be

 2    allowed to conduct discovery, including but not limited to serving Interrogatories, Requests for

 3    Admissions, Requests for Production of Documents, the taking of depositions, and the issuance of

 4    subpoenas, in order to identify, locate or dispose of property to satisfy the money judgment.

 5            5.       The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

 6    Order of Forfeiture to substitute property having a value not to exceed $126,110.82 to satisfy the

 7    money judgment in whole or in part.

 8    IT IS SO ORDERED.
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          Dated:      February 13, 2017
10                                                           UNITED STATES DISTRICT JUDGE

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     ORDER FOR FORFEITURE MONEY JUDGMENT                 2
